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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 LETICIA AND YOVANY,

                                                   Plaintiffs,
           -v.-                                                               Civil Action No. 22-cv-7527
                                                                              (Garaufis, J.)
                                                                              (Levy, M.J.)
UNITED STATES OF AMERICA,

                                                   Defendant.

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                  NOTICE OF MOTION TO WITHDRAW AS ATTORNEY OF RECORD

                  PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 1.4, Melanie Speight,

 Assistant United States Attorney for the United States Attorney’s Office for the Eastern District

 of New York, respectfully moves to withdraw as counsel for Defendant in the above-captioned

 action. Assistant United States Attorneys Kimberly Francis and Alexandra Megaris will continue

 to serve as counsel for Defendant in this matter. Pursuant to Local Civil Rule 1.4, the undersigned

 respectfully submits the annexed Declaration of Melanie Speight in support of this application. A

 copy of this motion has been served on counsel for all parties by ECF.

 Dated:           Brooklyn, New York
                  April 15, 2024
                                                                     BREON PEACE
                                                                     United States Attorney
                                                                     Eastern District of New York
                                                                     Attorney for Defendant United States
                                                                     271-A Cadman Plaza East
                                                                     Brooklyn, New York 11201

                                                            By:       /s/ Melanie Speight
                                                                     Melanie Speight
                                                                     (718) 254-7509
                                                                     melanie.speight@usdoj.gov
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 TO:   Alex Spiro (electronic service via email)
       Dennis H. Hranitzky (electronic service via email)
       Zane Muller (electronic service via email)
       Jessica Hanson (electronic service via email)
       Marcela X. Johnson (electronic service via email)
       Ming Tanigawa-Lau (electronic service via email)
       Sydney Snower (electronic service via email)
       Zachary-John Manfredi (electronic service via email)
